             Case 2:21-cv-00884-MJP             Document 236          Filed 07/10/24       Page 1 of 5




 1                                                                        The Honorable Marsha J. Pechman

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 6

 7                                UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE
 9    MARIJA PAUNOVIC and DUSAN
      PAUNOVIC, individually and on behalf of all                Case No. 2:21-cv-00884-MJP
10    others similarly situated,
                                                                 CERTIFICATE OF SERVICE
11                        Plaintiffs,
12           vs.
13    OBI SEAFOODS LLC, an Alaska corporation,
      and OCEAN BEAUTY SEAFOODS LLC, an
14    Alaska corporation,
15                        Defendants.
16           I am a resident of the State of Washington, over the age of eighteen years, and not a party

17    to the within action. My business address is One Union Square, 600 University Street, Ste. 3200,

18    Seattle, WA 98101. I hereby certify that on June 28, 2024, I caused to be served a NOTICE OF

19    SETTLEMENT OF CLASS ACTION PURSUANT TO THE CLASS ACTION FAIRNESS

20    ACT, 28 U.S.C. § 1715 upon the person(s) and via the method(s) indicated below:

21            EMAIL to the email address(es) of the person(s) set forth below.
      
22
             EMAIL to the email address(es) of the person(s) set forth below, pursuant to the parties' e-mail
23            service agreement.

      X       U.S. MAIL by placing a true copy for collection and mailing following the firm’s ordinary
24
              business practice in a sealed envelope with postage thereon fully prepaid for deposit in the United
25            States mail at Seattle, Washington addressed as set forth below.

26

     CERTIFICATE OF SERVICE - 1                                                      LITTLER MENDELSON, P.C.
                                                                                           One Union Square
     Case No. 2:21-cv-00884-MJP                                                     600 University Street, Suite 3200
                                                                                        Seattle, WA 98101.3122
                                                                                              206.623.3300
             Case 2:21-cv-00884-MJP            Document 236          Filed 07/10/24       Page 2 of 5




 1            OVERNIGHT DELIVERY by depositing a true copy of the same enclosed in a sealed envelope,
      
              with delivery fees provided for, in an overnight delivery service pick up box or office designated
 2            for overnight delivery and addressed as set forth below.
 3            PERSONAL DELIVERY via legal messenger by causing a copy of the document(s) listed above
      
              to be personally delivered to the person(s) at the address(es) set forth below.
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22             I declare under penalty of perjury under the laws of the State of Washington that the
23    above is true and correct. Executed on July 10, 2024, at Seattle, Washington.
24                                                 s/ Karen Fiumano Yun
25                                                 Karen Fiumano Yun
                                                   kfiumano@littler.com
26    4867-0084-8845.2 / 112405-1001               LITTLER MENDELSON, P.C.

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